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                                   7                                 UNITED STATES DISTRICT COURT

                                   8                                NORTHERN DISTRICT OF CALIFORNIA

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                                        CONSUMER FINANCIAL PROTECTION
                                  10    BUREAU,                                               Case No. 15-cv-02106-RS

                                  11                   Plaintiff,
                                                                                              ORDER GRANTING MOTION TO
                                  12            v.                                            STRIKE JURY DEMAND
Northern District of California
 United States District Court




                                  13    NATIONWIDE BIWEEKLY
                                        ADMINISTRATION, INC., et al.,
                                  14
                                                       Defendants.
                                  15

                                  16          The motion of plaintiff Consumer Financial Protection Bureau (“CFPB”) to strike as

                                  17   untimely the jury demand first presented by defendants in their amended answer (and restated in

                                  18   subsequent amendments) has been submitted without oral argument, pursuant to Civil Local Rule

                                  19   7-1(b). The motion will be granted.

                                  20          There is no dispute that defendants’ original answer in this action, filed July13, 2015,

                                  21   contained no jury demand. Pursuant to Rule 38 of the Federal Rules of Civil Procedure,

                                  22   defendants had up to fourteen days after that answer was filed to serve and file a jury demand—

                                  23   i.e., until July 27, 2015. Defendants did not do so.

                                  24          Defendants contend that the jury demand contained in their amended answer—filed on

                                  25   August 10, 2015—is nevertheless timely given (1) their right under Rule 15 to amend as a matter

                                  26   of course once within twenty-one days, and (2) the fact that CFPB encouraged them to file such an

                                  27   amendment and the parties then stipulated to extend the time for doing so. This argument is a non

                                  28   sequitur. There is no doubt that defendants were permitted to amend their answer as a matter of
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                                   1   course anytime up to twenty-one days after filing it. That, however, does not somehow change or

                                   2   extend the fact that they had only fourteen days after filing the original answer within which to

                                   3   make the jury demand.1

                                   4          Nor does the fact that CFPB allegedly encouraged an amendment, nor the fact the parties

                                   5   stipulated to extend time to amend, change the analysis. Even assuming that parties can stipulate

                                   6   to extend the deadline for making a jury demand, nothing in the stipulation here mentioned any

                                   7   jury demand. Moreover, by the time the stipulation was filed on July 30, 2015, defendants’

                                   8   deadline for demanding a jury had already expired.

                                   9          Ninth Circuit law is well-settled that the court has discretion to relieve a party from its

                                  10   failure to make a timely jury demand only in very limited circumstances. The court in Pacific

                                  11   Fisheries Corp. v. HIH Cas. & Gen. Ins., Ltd., 239 F.3d 1000 (9th Cir. 2001) surveyed the

                                  12   precedents and summarized the rule:
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                                  13                  The district court, in its discretion, may order a jury trial on a motion
                                                      by a party who has not filed a timely demand for one . . . . That
                                  14                  discretion is narrow, however, and does not permit a court to grant
                                                      relief when the failure to make a timely demand results from an
                                  15                  oversight or inadvertence. Lewis v. Time Inc., 710 F.2d 549, 556–57
                                                      (9th Cir.1983); see also Chandler Supply Co. v. GAF Corp., 650
                                  16                  F.2d 983, 987–88 (9th Cir.1980). An untimely request for a jury
                                                      trial must be denied unless some cause beyond mere inadvertence is
                                  17                  shown. See Mardesich v. Marciel, 538 F.2d 848, 849 (9th Cir.
                                                      1976); see also Russ v. Standard Ins. Co.,120 F.3d 988, 989–90 (9th
                                  18                  Cir. 1997) (holding that the district court could not employ another
                                                      rule to circumvent this circuit’s prohibition on granting untimely
                                  19                  jury demands due to inadvertence); Kletzelman v. Capistrano
                                                      Unified Sch. Dist., 91 F.3d 68, 71 (9th Cir. 1996) (denying untimely
                                  20                  jury demand when due to counsel’s oversight and inadvertence);
                                                      Wall v. Nat’l R.R. Passenger Corp., 718 F.2d 906, 910 (9th Cir.
                                  21                  1983) (holding district court’s denial of untimely jury demand not
                                                      an abuse of discretion where counsel’s inadvertence was the only
                                  22                  reason shown).
                                  23

                                  24   Pacific Fisheries, 239 F.3d at 1002 (some citations and footnote omitted).

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                                  26     Where an amended pleading raises new issues, the time period to demand a jury trial may be
                                       revived as to those issues. See Lutz v. Glendale Union High Sch., 403 F.3d 1061, 1066 (9th Cir.
                                  27   2005). Defendants do not, and could not, make any argument that principle is relevant here.

                                  28                                                           ORDER GRANTING MOTION TO STRIKE JURY DEMAND
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                                   1          Here, defendants have offered no evidence, or even argument, that the failure to make a

                                   2   timely demand for a jury could reasonably be characterized as anything other than oversight or

                                   3   inadvertence. Accordingly, there is no basis for the Court to exercise discretion to relieve

                                   4   defendants from their waiver. See also, Lutz, supra, 403 F.3d at 1065 n.4 (“In any event, had the

                                   5   district judge ordered a jury trial under Rule 39(b), he would have abused his discretion.”)

                                   6          Defendants also argue that CFPB should be estopped from challenging the timeliness of

                                   7   the jury demand, or that it has waived the timeliness objection, given that it did not raise the issue

                                   8   until trial was imminent. Defendants point to the fact that CFPB vigorously litigated other aspects

                                   9   of defendants’ answers and counterclaims, and signed off on joint case management statements

                                  10   referencing defendants’ jury demand, without ever raising the timeliness issue. Defendants also

                                  11   argue a handful of district court opinions, primarily from other circuits, and one Fifth Circuit

                                  12   decision show a party’s delay in moving to strike a jury demand can sometimes justify denying
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                                  13   relief. Defendants have not established, however, that the CFPB’s delay here calls for its motion

                                  14   to be denied under any controlling precedent.

                                  15          Finally, defendants also effectively concede they have no jury right on their counterclaims

                                  16   against the CFPB, a governmental agency. Although they contend the jury should hear those

                                  17   claims in an advisory capacity, their argument presupposes they have not waived a jury on the

                                  18   claims against them. There is certainly no basis to empanel a jury solely to act in an advisory

                                  19   capacity on the counterclaims.

                                  20          Accordingly, the CFPB’s motion to strike defendants’ jury demand is granted. This matter

                                  21   remains set for trial—bench trial—commencing on April 24, 2017, with a pretrial conference to be

                                  22   held on April 7, 2017 at 10:00 a.m.

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                                  28                                                           ORDER GRANTING MOTION TO STRIKE JURY DEMAND
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                                   1   IT IS SO ORDERED.

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                                   3   Dated: March 23, 2017

                                   4                                        ______________________________________
                                                                            RICHARD SEEBORG
                                   5                                        United States District Judge
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Northern District of California
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                                  28                                             ORDER GRANTING MOTION TO STRIKE JURY DEMAND
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